  4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 1 of 26 - Page ID # 333



                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

 PAUL GILLPATRICK and NICCOLE
 WETHERELL,                                            Case No. 4:18-cv-03011

         Plaintiffs,

    v.
                                                    DEFENDANTS’ BRIEF IN
 SCOTT FRAKES, DIRECTOR,                           SUPPORT OF MOTION FOR
 ANGELA FOLTS-OBERLE, ACTING                         SUMMARY JUDGMENT
 WARDEN, and MICHELE CAPPS,
 WARDEN, in their official
 capacities,

         Defendants.


                                   INTRODUCTION

         Scott Frakes, Angela Folta-Oberle, and Michele Capps (in their official capac-

ities) (collectively “the Defendants”), pursuant to Fed. R. Civ. P. 56 and NECivR 56.1,

submit this brief in support of their motion for summary judgment on all claims.

There is no genuine dispute as to any material fact and the Defendants are entitled

to judgment as a matter of law. The Defendants’ denial of the marriage requests by

the Plaintiffs—both of whom are state inmates serving lengthy sentences for murder

in separate prisons—is constitutionally valid because it is reasonably related to legit-

imate penological interests, consistent with Turner v. Safley, 482 U.S. 78 (1987).

         The Plaintiffs have not facially challenged the constitutionality of any Ne-

braska law, regulation, or policy. Rather, their challenge is to the Defendants’ denial

of their particular marriage request. The uncontroverted record—developed chiefly




                                            1
  4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 2 of 26 - Page ID # 334



through the testimony of corrections officials with decades of experience running pris-

ons—establishes that the burden on the Plaintiffs’ marriage right is permissible when

considered against a variety of legitimate legal, institutional, and security concerns.

The Plaintiffs’ primary argument would have this Court write “presence” out of Ne-

braska’s marriage statutes by compelling the Defendants to facilitate a wedding cer-

emony by videoconference. Beyond that, any other conceivable means of accommo-

dating the Plaintiffs’ desire to marry would compromise institutional security. Under

the deferential legal standard that will guide the Court’s analysis, this provides am-

ple justification for the denial of the Plaintiffs’ requests.

       For these reasons and as explained further throughout this brief, the Court

should decline the Plaintiffs’ invitation to second-guess the legal and security con-

cerns of state correctional officials and grant the Defendants summary judgment on

all claims.

                                 LEGAL STANDARD

       “The court shall grant summary judgment if the movant shows that there is no

genuine dispute as to any material fact and that the movant is entitled to judgment

as a matter of law.” Fed. R. Civ. P. 56(a); Celotex Corp. v. Catrett, 477 U.S. 317, 322

(1986). In reviewing a motion for summary judgment, the Court views the facts in the

light most favorable to the non-moving party and gives that party “the benefit of all

reasonable inferences that can be drawn from the record.” State Nat'l Ins. Co., Inc. v.

Washington Int'l Ins. Co., 304 F. Supp. 3d 827, 831-32 (D. Neb. 2018) (quoting Min-

nesota ex rel. N. Pac. Ctr., Inc. v. BNSF Ry. Co. 686, F.3d 567, 571 (8th Cir. 2012)).




                                             2
  4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 3 of 26 - Page ID # 335



       The initial burden on a moving party “may be discharged by ‘showing’—that

is, pointing out to the district court—that there is an absence of evidence to support

the nonmoving party’s case.” Celotex, 477 U.S. at 325; see also Bedford v. Doe, 880

F.3d 993, 996 (8th Cir. 2018) (“The moving party can satisfy its burden in ei-

ther of two ways: it can produce evidence negating an essential element of the non-

moving party's case, or it can show that the nonmoving party does not have enough

evidence of an essential element of its claim to carry its ultimate burden of persuasion

at trial.”); Johnson v. Wheeling Mach. Prods., 779 F.3d 514, 517 (8th Cir. 2015) (mov-

ing party need not produce evidence showing “the absence of a genuine issue of ma-

terial fact”).

       In response to the moving party’s showing, the nonmoving party’s burden is to

produce “specific facts sufficient to raise a genuine issue for trial.” Haggenmiller v.

ABM Parking Servs., Inc., 837 F.3d 879, 884 (8th Cir. 2016) (quoting Gibson v. Am.

Greetings Corp., 670 F.3d 844, 853 (8th Cir. 2012)). The nonmoving party “must do

more than simply show that there is some metaphysical doubt as to the material

facts, and must come forward with specific facts showing that there is a genuine issue

for trial.” Wagner v. Gallup, Inc., 788 F.3d 877, 882 (8th Cir. 2015) (quoting Torg-

erson, 643 F.3d at 1042). “[T]here must be more than the mere existence of some al-

leged factual dispute” between the parties in order to overcome summary judgment.

Dick v. Dickinson State Univ., 826 F.3d 1054, 1061 (8th Cir. 2016) (quoting Vacca v.

Viacom Broad. of Mo., Inc., 875 F.2d 1337, 1339 (8th Cir. 1989)).




                                           3
    4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 4 of 26 - Page ID # 336



    STATEMENT OF MATERIAL FACTS ABOUT WHICH THE DEFENDANTS
             CONTEND THERE IS NO GENUINE DISPUTE1

Relevant persons

     1. Plaintiff Paul Gillpatrick is a Nebraska inmate serving a 55 to 90 year effective

        sentence at the Nebraska State Penitentiary (“NSP”) for the 2009 murder of

        Robby Robinson and for the use of a deadly weapon to commit a felony. State

        v. Gillpatrick, No. A-10-793, 2011 WL 2577279, at *1 (Neb. Ct. App. Jun. 28,

        2011); (Second Amended Complaint (“2d Am. Compl.”) ¶ 1, Filing 1-1 at 1.)

     2. Based on Plaintiff Gillpatrick’s sentence structure, he cannot be transferred

        out of a medium or maximum-security facility (e.g., on furlough or to the work

        release center). (Deposition of Diane Sabatka-Rine (“Sabatka-Rine Depo.”)

        18:2-12.)

     3. Plaintiff Niccole Wetherell is a Nebraska inmate serving a life sentence at the

        Nebraska Correctional Center for Women (“NCCW”) for the 1998 murder of

        Scott Catenacci. State v. Wetherell, 259 Neb. 341-42 (2000); (2d Am. Compl.

        ¶ 1, Filing 1-1 at 1.)

     4. Based on Plaintiff Wetherell’s sentence structure, she cannot be transferred

        out of a medium or maximum security facility (e.g., on furlough or to the work

        release center). (Sabatka-Rine Depo. 19:3-13.)

     5. Defendant Scott Frakes is the Director of the Nebraska Department of Correc-

        tional Services (“NDCS”). (2d Am. Compl. ¶ 2, Filing 1-1 at 1.)



1Elsewhere in the brief, references to items in this statement of uncontroverted fact will be made
using the format “Statement #.”


                                                4
 4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 5 of 26 - Page ID # 337



   6. Director Frakes is the ultimate decisionmaker with regard to inmate-to-inmate

      marriage issues, generally, and to the issue of transporting an inmate from one

      secure facility to another for the purpose of marriage, specifically. (Depo. Ex. 2

      at 4; Depo. Ex. 5, Inmate Marriage Policy pt. I-D; Sabatka-Rine Depo. 62-2-5.)

   7. Diane Sabatka-Rine is the Chief of Operations for NDCS. (Sabatka-Rine Depo.

      5:12-15.)

   8. Defendant Michele Capps is the Warden of NSP. (Filing 41 at 1.)

   9. Defendant Angela Folts-Oberle is the Acting Warden of NCCW. (Filing 45 at

      1.)

Relevant history

   10. The Plaintiffs are engaged to be married. (2d Am. Compl. ¶ 7, Filing 1-1 at 2.)

   11. Sometime prior to August 12, 2012, Plaintiff Wetherell submitted a request to

      marry Plaintiff Gillpatrick. (2d Am. Compl. ¶¶ 20-22, Filing 1-1 at 3.)

   12. The then-Warden of NCCW denied Plaintiff Wetherell’s marriage request. (2d

      Am. Compl. ¶ 21, Filing 1-1 at 3.)

   13. On August 12, 2012, Plaintiff Wetherell initiated the inmate grievance process

      regarding the denial of her marriage request. (2d Am. Compl. ¶ 22, Filing 1-1

      at 3.)

   14. On or about September 14, 2012, Plaintiff Wetherell’s grievance process was

      completed with NDCS affirming the NCCW Warden’s decision to deny the mar-

      riage request. (2d Am. Compl. ¶ 23, Filing 1-1 at 3.)




                                           5
4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 6 of 26 - Page ID # 338



 15. Sometime prior to July 26, 2013, Plaintiff Gillpatrick submitted a request to

    marry Plaintiff Wetherell. (2d Am. Compl. ¶¶ 16-18, Filing 1-1 at 3.)

 16. The then-Warden of NSP (Diane Sabatka-Rine) denied Plaintiff Gillpatrick’s

    marriage request. (2d Am. Compl. ¶ 17, Filing 1-1 at 3.)

 17. On July 26, 2013, Plaintiff Gillpatrick initiated the grievance process regard-

    ing the denial of his marriage request. (2d Am. Compl. ¶ 18, Filing 1-1 at 3.)

 18. On or about September 4, 2014, Plaintiff Gillpatrick’s grievance process was

    completed with NDCS affirming the NSP Warden’s decision to deny the mar-

    riage request. (2d Am. Compl. ¶ 19, Filing 1-1 at 3.)

 19. Separate from the Plaintiffs’ respective grievance proceedings, on April 15,

    2013, NDCS counsel, writing on behalf of former NDCS Director Robert Hou-

    ston, advised the Plaintiffs that “… legal and security concerns prohibit the

    NDCS from facilitating a marriage ceremony for inmates Gillpatrick and

    Wetherell.” (2d Am. Compl. ¶ 24, Filing 1-1 at 3.)

 20. On December 30, 2013, the Plaintiffs raised the issue with Director Houston’s

    successor, Michael L. Kenney, who affirmed the previous denials. (2d Am.

    Compl. ¶¶ 26-27, Filing 1-1 at 4.)

 21. Defendant Frakes has since succeeded Michael L. Kenney as NDCS Director.

    (2d Am. Compl. ¶ 25, Filing 1-1 at 4.)

 22. Aside from NDCS’ denials of their marriage requests, the Plaintiffs are other-

    wise eligible to marry. (2d Am. Compl. ¶¶ 5-6, 8, Filing 1-1 at 2.)




                                         6
  4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 7 of 26 - Page ID # 339



   23. It is undisputed that the current relevant officials at NDCS stand by the denial

      of the Plaintiffs’ marriage requests and that the Plaintiffs will not be permitted

      to marry for the reasons already provided in the previous denials and based on

      current NDCS policy. (Sabatka-Rine Depo. 74:6-75:1; Depo. Ex. 2, Defendants’

      Responses to Interrogatories; Depo. Ex. 5, NDCS Inmate Marriage Policy.)

   24. Prior to the removal of this action to this Court, earlier iterations of the Plain-

      tiffs’ claims were subject to litigation in state court, (see, e.g., Filing 6 and at-

      tachments), which culminated in a published opinion of the Nebraska Supreme

      Court. Gillpatrick v. Sabatka-Rine, 297 Neb. 880, 902 N.W.2d 115 (2017). The

      Nebraska Supreme Court reversed and vacated on procedural grounds the

      state district court’s earlier decision granting the Plaintiffs’ claims to marry,

      but did not address the merits of the Plaintiffs’ underlying constitutional

      claims. See id. Other than strictly for background purposes, the state court

      proceedings are immaterial to the issues before this Court.

Basis for the denial of the Plaintiffs’ marriage requests

   25. Inmate marriages are governed by the NDCS Inmate Marriage Policy, Policy

      #205.04, which is in the record at Depo. Ex. 5 (also available at: https://correc-

      tions.nebraska.gov/system/files/rules_reg_files/205.04_2018.pdf). The Inmate

      Marriage Policy was made effective June 30, 2016, and most recently revised

      on December 31, 2018.

   26. The Inmate Marriage Policy as a whole speaks for itself, but several of its pro-

      visions are particularly pertinent to this motion:




                                            7
4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 8 of 26 - Page ID # 340



    PURPOSE: The purpose of this Policy is to establish rules and standards for

    accommodating inmate marriages.

    GENERAL: The Nebraska Department of Correctional Services (NDCS) shall

    accommodate inmate marriage ceremonies provided the marriage does not con-

    flict with any legal restriction or process, any NDCS policy or procedure, or

    compromise the security or good order of any NDCS facility.

    ....

    PROCEDURE:

    I. Marriage

    A. If all legal and NDCS requirements are met, inmates will be allowed to

    marry unless the Warden finds that the marriage or marriage ceremony pre-

    sents a threat to security or the good order of the institution.

    ....

    D. Facilities will arrange space and time for marriage ceremonies, except that

    ceremonies will not be arranged for inmates assigned to restrictive housing.

    Inmates assigned to community custody facilities may be allowed furloughs to

    marry in the community. NDCS will not transport inmates from one institution

    to another for the marriage ceremony. Inmates will normally not be permitted

    to marry other inmates due to potential risks to the safety, security or good order

    of the facility. If an inmate wants to marry another inmate, he or she may file




                                         8
 4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 9 of 26 - Page ID # 341



      a grievance of a sensitive nature to the Director outlining special circum-

      stances which may warrant an exception. The director reserves the right to ap-

      prove inmate-to-inmate marriages in the case of special circumstances.

(Depo. Ex. 2 at 2 (emphasis added).)

   27. On its face, the Inmate Marriage Policy does not categorically bar inmate-to-

      inmate marriages, but rather establishes a default rule that such marriages

      will generally not be permitted unless an exception is made in a case of “special

      circumstances.” (Id.)

   28. The “special circumstances” are not specifically enumerated, but Director

      Frakes testified that circumstances that could qualify for this exception might

      include situations involving permitting two inmates to marry for the benefit a

      child or possibly a situation presenting a special inmate asset disposition need.

      (Frakes Depo. 34:22-36:14.)

   29. Chief of Operations Sabatka-Rine provided similar testimony on this point,

      and elaborated that any such decision would be made based on the totality of

      the circumstances in a particular situation. (Sabatka-Rine Depo. 61:13-62:22.)

   30. The record is devoid of any assertion by the Plaintiffs that special circum-

      stances apply to their request to be married.

   31. The specific reasons for NDCS’ denial of the Plaintiffs’ marriage requests has

      been restated in various forms in the years since this dispute arose, but, for

      purposes of this motion, those reasons have been consolidated into the Defend-

      ants’ responses to the Plaintiffs’ first set of interrogatories, which include:




                                           9
4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 10 of 26 - Page ID # 342



       a. INTERROGATORY NO. 2: Please describe in detail what the “legal and

          security concerns” were at the time the decision was made to deny Plain-

          tiffs request to marry and describe how these concerns have changed

          over time until the present.

          ANSWER: Nebraska law requires parties to be “in the presence of the

          magistrate or minister and the attending witnesses” in order to be mar-

          ried. The security concerns associated with transporting either Plaintiff

          for the purpose of attending a marriage ceremony include the increased

          risk and motivation for escape because both Plaintiffs are serving long

          prison sentences; the fact that the distance between the Plaintiffs would

          require transporting one Plaintiff through multiple jurisdictions; and

          the increased risk of escape when inmates are traveling at a time that

          is known in advance to the inmate. Other security concerns include the

          strain on staff resources because of the need for more staff to be involved

          in the transport, and the increased risk to the public by transporting

          inmates who are at an increased risk of escape. These concerns have

          remained over time.

       b. INTERROGATORY NO. 4: Identify any fact, policy, reason, or basis (in-

          cluding any scientific evidence) that Defendants believe or contend sup-

          ports the position that prohibiting Plaintiffs from marrying furthers any

          state interest, including but not limited to “legal and security concerns.”




                                         10
4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 11 of 26 - Page ID # 343



          ANSWER: In addition to Defendant’s response to Interrogatory No. 2

          above, Defendants contend that relationships among inmates in prisons

          can be coercive in nature, and create additional security issues.

       c. INTERROGATORY NO. 5: If you assert that one or more legitimate gov-

          ernment interests exist that prevent the Plaintiffs’ marriage, please de-

          scribe in detail each interest and how allowing Plaintiffs to marry would

          affect that interest.

          ANSWER: Defendants have an interest in expending state resources

          (staff salaries, vehicles, gas) appropriately, maintaining minimum staff-

          ing levels in the facilities, limiting inmate movement from secure facili-

          ties into the community, and complying with statutes. Defendants also

          have an interest in keeping inmates safe, free from coercion perpetrated

          on one another. Defendants also have an interest in maintaining the

          ability to make decisions that will impact the good order of the institu-

          tion and preclude inmate-inmate communications that could present se-

          curity and investigatory problems.

       d. INTERROGATORY NO. 6: Please describe in detail what impact allow-

          ing Plaintiffs to marry was expected to have on prison staff, inmates,

          and prison resources at the time the decision was made and how these

          impacts have changed over time until the present time.

          ANSWER: [T]ransporting either Plaintiff to a different facility would

          require a minimum of 2 staff. A law enforcement chase vehicle would




                                       11
 4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 12 of 26 - Page ID # 344



             also potentially be required. Because staff would be out of the facility

             transporting the Plaintiffs, other staff may have to work overtime, or

             have a day off cancelled to cover the transporting staffs’ duties.

(Depo. Ex. 2, Defendants’ Responses to Interrogatories.)

   32. Director Frakes’ testimony was consistent with those responses and confirmed

      that the transportation issue was at the center of the basis for denying the

      marriage requests. (Deposition of Scott R. Frakes (“Frakes Depo.”) 82:15-83:5.)

   33. Chief of Operations Sabatka-Rine likewise testified that the above-discussed

      transportation issue is, standing alone, a sufficient justification for denying the

      Plaintiffs’ marriage requests. (Sabatka-Rine Depo. 36:5-13.)

   34. NSP Warden Capps likewise testified that as long as both Plaintiffs main-

      tained their current sentence structures, and unless or until one of them ob-

      tained a sentence reduction or a move to a lower custody facility, the security

      risks associated with moving either of them for purposes of marriage prevent

      her from being willing to approve Plaintiff Gillpatrick’s request. Capps Depo.

      29:1-30:13.)

   35. Even in circumstances where transportation would not be an issue, other se-

      curity and institutional-related considerations exist which would influence

      NDCS officials’ decision regarding a requested inmate-inmate marriage, in-

      cluding the concern of whether an inmate is being coerced to marry another

      inmate, and inmate health. (Sabatka-Rine Depo. 36:14-37:6.)




                                          12
 4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 13 of 26 - Page ID # 345



   36. Inmate-on-inmate coercion can occur in the prison setting even if the two indi-

      viduals are not housed in the same facility. (Sabatka-Rine Depo. 42:1-18.)

   37. Based on their respective sentence structures, neither Plaintiff is eligible to

      receive permission to be transported for the purpose of getting marries. (Sa-

      batka-Rine Depo. 18:13-20, 19:14-18.)

   38. NDCS officials cannot approve a request for an inmate marriage by videocon-

      ference or by other means of electronic communication, based on NDCS offi-

      cials’ understanding that Nebraska law requires the parties to a marriage cer-

      emony to be physically present. (Frakes Depo. 73:6-74:12.)

   39. To reach their conclusions as to the reasons for denying these Plaintiffs’ re-

      quest to be married, the Defendants relied on their decades of collective expe-

      rience working in prison systems. (Depo. Ex. 2 at 7; Sabatka-Rine Depo. 5:23-

      6:25; Frakes Depo. 4:23-6:19.)

   40. To the knowledge of Chief of Operations Sabatka-Rine, there has never been

      an inmate-to-inmate marriage between two NDCS inmates while both were

      housed in secure facilities. (Sabatka-Rine Depo. 42:19-23.)

                                    ARGUMENT

      The denial of the Plaintiffs’ marriage requests is constitutional.

      Consolidated and restated, the Plaintiffs’ sole claim is that they are entitled

under the Fourteenth Amendment to marry and that the Defendants’ denial of their

request to marry is unconstitutional. Since both Plaintiffs are violent offenders serv-

ing lengthy prison terms (one a life sentence) in separate NDCS facilities 54 miles




                                          13
 4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 14 of 26 - Page ID # 346



apart, it is implicit in their claim that NDCS would be compelled to take some affirm-

ative act to facilitate their marriage ceremony. This would require either transporting

one of the Plaintiffs outside a secure facility or, as the Plaintiffs have theorized in

previous iterations of their claims, setting up a marriage ceremony by videoconfer-

ence in spite of the requirement in Nebraska’s marriage statute, Neb. Rev. Stat. § 42-

109, that parties to the ceremony be “presen[t]” with the presider. See Gillpatrick v.

Sabatka-Rine, 297 Neb. 880, 882-83, 902 N.W.2d 115, 119 (2017).

      Although their pleadings are vague as to precisely the remedy the Plaintiffs

want this Court to impose on the Defendants, the Defendants assume they remain

committed to an injunction that would require the facilitation of a videoconference

ceremony, notwithstanding Nebraska’s presence requirement. That, at least, was the

orientation of the Plaintiffs’ argument before the Nebraska Supreme Court. Brief of

Appellees at *2, 17-18, 28, Gillpatrick v. Sabatka-Rine, 297 Neb. 880, 902 N.W.2d 115

(2017) (No. S-16-212), 2016 WL 4938198. For the sake of completeness, this brief ad-

dresses both the videoconference theory and any new theory regarding forced trans-

portation. If the Plaintiffs pursue the latter remedy in their principal brief, the De-

fendants will respond further in their opposition brief. Under either theory, however,

the Plaintiffs’ underlying constitutional claim is without merit.

      It is not contested that even as incarcerated people, the Plaintiffs retain a right

to marry that is protected by the Constitution. Obergefell v. Hodges, 135 S. Ct. 2584,

2598 (2015) (citing Turner, 482 U.S. at 95). The question here is not whether the right




                                          14
 4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 15 of 26 - Page ID # 347



exists, but rather whether it may be restricted in the prison setting. “Although pris-

oners retain their constitutional rights, limitations may be placed on the exercise of

those rights in light of the needs of the penal system.” Murphy v. Mo. Dep't of

Corr., 372 F.3d 979, 982 (8th Cir. 2004); see also O'Lone v. Estate of Shabazz, 482 U.S.

342, 348 (1987) (“Lawful incarceration brings about the necessary withdrawal or lim-

itation of many privileges and rights, a retraction justified by the considerations un-

derlying our penal system.”). Thus, “[c]onstitutional claims that would otherwise re-

ceive strict scrutiny analysis if raised by a member of the [public] are evaluated under

a lesser standard of scrutiny in the context of a prison setting.” Id. (citing Turner, 482

U.S. at 81). “A prison regulation or action is valid, therefore, even if it restricts a

prisoner's constitutional rights if it is ‘reasonably related to legitimate penological

interests.” Id. (quoting Turner, 482 U.S. at 89).

      Turner established “four factors that courts should consider in making that de-

termination”: (1) “whether there is a ‘valid rational connection’ between the prison

regulation and the government interest justifying it”; (2) “whether there is an alter-

native means available to the prison inmates to exercise the right”; (3) “whether an

accommodation would have ‘a significant “ripple effect” ’ on the guards, other in-

mates, and prison resources”; and (4) “whether there is an alternative that fully ac-

commodates the prisoner ‘at de minimis cost to valid penological interests.’” Murphy,

372 F.3d at 982-83 (quoting Turner, 482 U.S. at 89-90).




                                           15
 4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 16 of 26 - Page ID # 348



      The Supreme Court has made clear a reviewing court “must accord substantial

deference to the professional judgment of prison administrators, who bear a signifi-

cant responsibility for defining the legitimate goals of a corrections system and for

determining the most appropriate means to accomplish them.” Overton v. Bazzetta,

539 U.S. 126, 132 (2003). The Supreme Court has also made clear the burden is not

on the state to provide the validity of a challenged regulation, but is instead on the

inmate to disprove it. Id.

      This deferential legal standard exists for good reason, since “[s]ubjecting day-

to-day judgments of prison officials to an inflexible strict scrutiny analysis would se-

riously hamper their ability to anticipate security problems and to adopt innovative

solutions to the intractable problems of prison administration.” Turner, 482 U.S. at

89. “[C]ourts are ill equipped to deal with the increasingly urgent problems of prison

administration and reform.” Id. at 84 (internal quotation omitted). “[T]he problems

of prisons in America are complex and intractable, and, more to the point, they are

not readily susceptible of resolution by decree.” Id. “Running a prison is an inordi-

nately difficult undertaking that requires expertise, planning, and the commitment

of resources, all of which are peculiarly within the province of the legislative and ex-

ecutive branches of government.” Id. at 84-85. “Prison administration is, moreover, a

task that has been committed to the responsibility of those branches, and separation

of powers concerns counsel a policy of judicial restraint.” Id. at 85. And, where a state

penal system is involved, federal courts have additional reason to accord deference to

the appropriate prison authorities. Id.




                                           16
 4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 17 of 26 - Page ID # 349



      Applying these principles to the uncontroverted record before the Court—and

according Nebraska’s prison administrators the deference the Supreme Court re-

quires—it is clear that the denial of the Plaintiffs’ marriage request satisfies the four-

factor Turner framework.

   1. There is a valid, rational connection between the denial of the mar-
      riage requests and the Defendants’ legitimate penological interests.

      The threshold question in measuring the reasonableness of a burden on an

inmate’s constitutional right is whether there is a “valid, rational connection between

the prison regulation and the legitimate governmental interest put forward to justify

it.” Turner, 482 U.S. at 89 (internal quotation omitted). “[A] regulation cannot be sus-

tained where the logical connection between the regulation and the asserted goal is

so remote as to render the policy arbitrary or irrational.” Id. at 89-90. “[T]he govern-

mental objective must be a legitimate and neutral one.” Id. at 90.

      To the extent the Plaintiffs’ request to marry is based on their belief that the

Defendants can accommodate them by simply setting up a videoconference for their

wedding ceremony, the denial of the request is facially reasonable. It is obviously

neither arbitrary nor irrational for the Defendants to decline to facilitate a legally

invalid proceeding. As stated above, Nebraska law requires that in a valid marriage

ceremony, “the parties shall solemnly declare in the presence of the magistrate or

minister and the attending witnesses, that they take each other” as spouses. Neb.

Rev. Stat. § 42-109 (emphasis added). The Plaintiffs can point to no Nebraska author-

ity—and the Defendants are aware of none—which interprets “presence” to mean an-

ything other than physical presence. Gillpatrick expressly did not decide the issue



                                           17
    4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 18 of 26 - Page ID # 350



since the lower state court’s order could be reversed and vacated on procedural

grounds. 297 Neb. at 883, 902 N.W.2d at 119. And the Plaintiffs find no support in

the plain and ordinary meaning of “presence.” Black’s Law Dictionary 1302 (9th ed.

2009) (“presence” alternatively defined as “[t]he state or fact of being in a particular

place and time” or “close physical proximity coupled with awareness” (emphasis

added)).

        The Plaintiffs devoted much energy during discovery to inquiring about the

electronic conferencing and video capabilities in various NDCS facilities. None of that

information is material to the issues before this Court since no videoconference mar-

riage ceremony would be valid under Nebraska law.2

        Likewise, to the extent the Plaintiffs now advance any argument that the De-

fendants should be compelled to transport either or both of them outside secure facil-

ities for the purpose of marriage, the Defendants’ denial is permissible under Turner.

As a threshold matter, central to the Defendants’ refusal to transport these Plaintiffs

for a marriage are security concerns relating both to the transportation itself and the

diversion of institutional resources to facilitate it. (Statement # 31(a).) “Security, of

course, is a valid penological objective.” Herlein v. Higgins, 172 F.3d 1089, 1090 (8th




2 In the event the Court finds colorable the Plaintiffs’ proposed definition of “presence” in Neb. Rev.
Stat. § 42-109, the Court should order the parties to address whether the question should be certified
to the Nebraska Supreme Court under NECivR 7.4. Although the Defendants do not believe this is
necessary in light of the plain meaning of the statutory text, any such re-interpretation of the term
should be conducted by that court as “the final arbiter of Nebraska law.” State ex rel. Rhiley v. Ne-
braska State Patrol, 302 Neb. 241, 255, 917 N.W.2d 903, 913 (2018).


                                                  18
    4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 19 of 26 - Page ID # 351



Cir. 1999) (citing O’Lone, 482 U.S. at 348). Subsumed within this goal is the Defend-

ants’ need to allocate scarce resources in an appropriate, security-oriented manner.

(Statement # 31(c).)

        With the legitimacy of the Defendants’ penological objective established, it is

the Plaintiffs’ burden to disprove the Defendants’ articulation of the rational connec-

tion between that objection and the denial of the marriage requests here. Overton,

539 U.S. at 132.

        The Defendants have provided this articulation based on their decades of ex-

perience running prisons and prison systems. The security concerns associated with

transporting either Plaintiff for the purpose of attending a marriage ceremony in-

clude the increased risk and motivation for escape because both Plaintiffs are serving

long prison sentences; the fact that the distance between the Plaintiffs would require

transporting one Plaintiff through multiple jurisdictions; and the increased risk of

escape when inmates are traveling at a time that is known in advance to the inmate.

(Statement # 31(a).) Anytime an inmate is removed from a secure facility, the risk of

escape is increased, and thus transportation enhances the risk to the public from a

potential escapee. (Id.)3 Reducing the occurrence of transporting inmates outside se-

cure facilities except when absolutely necessary is thus directly connected to the over-

riding security objective.


3In Nebraska, specifically, this is hardly an abstract or theoretical concern. See, e.g., Paul Hammel,
Two women, attacked by an escaped inmate in Lincoln, sue state, Omaha World-Herald (Nov. 15, 2018),
available at: https://www.omaha.com/news/courts/two-women-attacked-by-an-escaped-inmate-in-lin-
coln-sue/article_d16d6681-b6ee-50ce-85ad-bd0aefeab863.html; Lori Pilger, Prison escapee Dixon gets
49-80 years more, Lincoln Journal Star (Feb. 23, 2017), available at: https://journalstar.com/news/lo-
cal/crime-and-courts/prison-escapee-dixon-gets---years-more/article_4fe48d00-3f64-5b7b-9ae8-
8bbda6b8d33d.html.


                                                 19
 4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 20 of 26 - Page ID # 352



       Similar justifications have been recognized in other jurisdictions. See, e.g.,

Sandoval v. Obenland, No. 3:17-CV-05667, 2019 WL 688876, at *4 (W.D. Wa. Jan.

19, 2019) (applying Turner factors to a prison policy restricting inmate marriage

based in part on security-related transportation concerns). Closer to home, even

where the Eighth Circuit has invalidated a restriction on inmate transportation for

the exercise of a constitutional right, its reasoning has served to illustrate the validity

of the Defendants’ concerns. The Court of Appeals in Roe v. Crawford, 514 F.3d 789

(8th Cir. 2008), analyzed whether Missouri’s policy against transporting female in-

mates for elective abortions could stand under Turner. The Court found little diffi-

culty in finding the underlying transportation-related concerns were valid, accepting

Missouri’s contention that “any time an inmate is removed from prison, security is at

risk.” Id. at 795 (emphasis original). Missouri’s argument was that by restricting

transportation of inmates, it would reduce the occurrence of inmates outside secure

facilities, thereby reducing the security risk. See id. But the problem with that argu-

ment, the Court explained, was that Missouri’s policy—aimed though it was at ad-

vancing the legitimate penological goal of keeping inmates in secure facilities except

as necessary—would result in increased inmate transportation since care during

pregnancy and delivery would require more external medical referrals. Id. Missouri’s

justification was therefore undermined on the first Turner factor.

       The lesson from Crawford is that penological concerns regarding the transpor-

tation of inmates—and, necessarily, the diversion of prison resources to facilitate

such transportation—are legitimate. Missouri’s failure was that it could not show a




                                            20
 4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 21 of 26 - Page ID # 353



“rational connection” between its policy and that legitimate goal, much less explain

how the former furthered the latter. See Turner, 482 U.S. at 89. Here, the denial of

the Plaintiffs’ marriage requests suffers from no such logical gap. Declining to

transport the Plaintiffs outside their secure facilities for a wedding ceremony will not

result in their being transported for other reasons. The denial thus furthers the in-

controvertibly legitimate goal of maintaining inmates—particularly ones like the

Plaintiffs serving lengthy or life sentences for violent crimes—in secure facilities to

the maximum extent possible.

      For these reasons, the Court’s analysis of the first Turner factor should favor

the Defendants. Although the Defendants have addressed both the Plaintiffs’ stated

preferred remedy of a ceremony by video conference and the sole conceivable trans-

portation alternative, the Defendants necessarily reserve the right to address this

further in their cross-motion opposition in the event the Plaintiffs shift their focus to

transportation.

   2. There are no alternative means of exercising the marriage right.

      The second Turner factor for determining the reasonableness of a prison re-

striction is “whether there are alternative means of exercising the right that remain

open to prison inmates.” 482 U.S. at 90. Where such alternatives are available for the

exercise of the asserted right, “courts should be particularly conscious of the measure

of the measure of judicial deference owed to corrections officials in gauging the valid-

ity of the regulation.” Id. (internal quotation omitted).




                                           21
 4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 22 of 26 - Page ID # 354



      Simply put, there are no alternative means for the Plaintiffs to marry. A cere-

mony by videoconference is not legally possible for the reasons discussed in the pre-

vious section. And the Plaintiffs’ respective sentence structures and security needs

render them ineligible for a custody or classification change (e.g., a furlough) that

would enable one of them to travel without escort to the other’s facility. Thus, the

Defendants concede that, at best, this factor is neutral to their position or favors the

Plaintiffs. See Sandoval, 2019 WL 688876, at *4.

   3. Accommodating the marriage request would impact guards, other in-
      mates, and allocation of scarce prison resources.

      The third Turner factor measures the impact of the accommodation of the as-

serted constitutional right on guards and other inmates, and on the allocation of

prison resources generally. 482 U.S. at 90. “In the necessarily closed environment of

the correctional institution, few changes will have no ramifications on the liberty of

others or on the use of the prison’s limited resources for preserving institutional or-

der.” Id. “When accommodation of an asserted right will have a significant ‘ripple

effect’ on fellow inmates or on prison staff, courts should be particularly deferential

to the informed discretion of corrections officials.” Id.

      Once again, this factor must be examined in two ways based on the possible

remedies sought by the Plaintiffs. To the extent their proposed remedy is a videocon-

ference ceremony, analyzing the institutional impacts is not even necessary since the

ceremony would be per se legally invalid at the outset.

      To the extent transportation of either Plaintiff is now proposed, the uncontro-

verted record shows there would be significant impacts. For purposes of this brief,



                                            22
 4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 23 of 26 - Page ID # 355



the diversion of institutional resources alone weighs against discretionary transpor-

tation. As Chief of Operations Sabatka-Rine stated, transporting either Plaintiff to a

different facility would require a minimum of two staff. (Statement # 31(d).) A law

enforcement chase vehicle would also potentially be required. (Id.) Because staff

would be out of the facility transporting the Plaintiffs, other staff may have to work

overtime, or have a day off cancelled to cover the transporting staffs’ duties.(Id.; see

also Sandoval, 2019 WL 688876, at *4 (finding third Turner factor weighed in prison

officials’ favor where marriage allowance—and the variety of administrative steps

necessary to facilitate it—would “have a significant impact on both prison officials

and the prison itself if officials were required to transfer prisoners between facilities

for . . . marriage ceremonies.”).)

       This places the third Turner factor comfortably in the Defendants’ favor. To

the extent the Plaintiffs make new or additional arguments regarding transportation

as a remedy, the Defendants will address such arguments in their opposition brief.

   4. There are no ready alternatives to denying the marriage requests.

       “Finally, the absence of ready alternatives is evidence of the reasonableness of

a prison regulation.” Turner, 482 U.S. at 90. “By the same token, the existence of

obvious, easy alternatives may be evidence that the regulation is not reasonable, but

is an “exaggerated response” to prison concerns.” Id. “This is not a ‘least restrictive

alternative’ test: prison officials do not have to set up and then shoot down every

conceivable alternative method of accommodating the claimant's constitutional com-

plaint.” Id. at 90-91.




                                           23
 4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 24 of 26 - Page ID # 356



      But the Defendants would not need to embark on such an exercise, anyway,

for there are so few “conceivable alternatives.” Though the Plaintiffs may seek to

dress a videoconference ceremony as an alternative, it cannot qualify as such for the

straightforward legal reasons discussed elsewhere in this brief. To the extent the

Plaintiffs urge such a remedy as a viable accommodation at merely a “de minimis cost

to valid penological interests,” Turner, 482 U.S. at 91, they ask this Court to judicially

re-write “presence” out of Nebraska’s marriage statutes. The Court should decline

this request.

                                    CONCLUSION

      For the foregoing reasons, the Defendants’ motion for summary judgment

should be granted.

      Submitted March 21, 2019.

                                         SCOTT FRAKES,
                                         ANGELA FOLTS-OBERLE,
                                         and MICHELE CAPPS,
                                         Defendants (in their official capacities)

                                         DOUGLAS J. PETERSON, NE #18146
                                         Attorney General of Nebraska

                                         s/David A. Lopez
                                         DAVID A. LOPEZ, NE #24947
                                         Deputy Solicitor General

                                         RYAN S. POST, NE #24714
                                         BEN GOINS, NE #26034
                                         Assistant Attorneys General

                                         OFFICE OF THE ATTORNEY GENERAL
                                         2115 State Capitol
                                         Lincoln, Nebraska 68509
                                         (402) 471-2682



                                           24
4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 25 of 26 - Page ID # 357



                                  dave.lopez@nebraska.gov
                                  ryan.post@nebraska.gov

                                  COUNSEL FOR THE DEFENDANTS




                                    25
 4:18-cv-03011-RFR-CRZ Doc # 49 Filed: 03/21/19 Page 26 of 26 - Page ID # 358



                           CERTIFICATE OF SERVICE

      I hereby certify that on March 21, 2019, I electronically filed the foregoing doc-
ument with the Clerk of the United States District Court for the District of Nebraska,
using the CM/ECF system, causing notice of such filing to be served upon Plaintiffs’
counsel of record.

                                        By:    s/ David A. Lopez




                                          26
